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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               CASE NO. 19-20141-CR-KING


 UNITED STATES OF AMERICA             )
                                      )
       v.                             )
                                      )
 VICTOR ROJAS,                        )
                                      )
       Defendant.                     )
 ____________________________________ )


                           UNITED STATES’ NOTICE OF INTENT
                            TO UTILIZE EXPERT TESTIMONY

        COMES NOW, the United States of America, through its undersigned counsel, and files

 this Notice of Intent to Utilize Expert Testimony pursuant to Federal Rule of Evidence 702. In

 accordance with Federal Rule of Criminal Procedure 16, the United States intends to utilize,

 among others, the following expert testimony at trial:

        (1) Don Semesky

        Training/Qualifications: Provided to defense via email

        Summary of Testimony/Opinion and Basis: Based upon his training and experience, the

        expert will testify, inter alia: money laundering methods and techniques related to drug

        trafficking activity and other types of criminal activity, international money laundering

        including North America, South America and Europe, and informal foreign exchange

        black markets.
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                                                 Respectfully submitted,


                                                 ARIANA FAJARDO ORSHAN
                                                 UNITED STATES ATTORNEY


                                          By:     /s/ Timothy J. Abraham
                                                 Timothy J. Abraham, AUSA
                                                 Florida Bar No. 114372
                                                 99 N.E. 4th Street, 4th Floor
                                                 Miami, Florida 33132-2111
                                                 Tel: (305) 961-9438
                                                 Fax: (305) 530-7976
                                                 Timothy.Abraham2@usdoj.gov

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 18, 2019, I electronically filed the foregoing

 document with the Clerk of Court via the CM/ECF system.


                                                 /s/ Timothy J. Abraham
                                                 Assistant United States Attorney
